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IN THE UNITED STATE DISTRI9CT COUR'I`

FOR THE DISTRICT O§` IDAHO

LEE ARTHUR RICE, Il, ) CASE NO. l:l3-CV-OO44l-BLW

)
Plaintiff, ) TRIAL BRIEF

)
vs. )
)
DALE MOREHOUSE, JEFFR_EY A. )
HILL, MARK ABERCROMBIE, AND )
NICK SHAFFER. )
)
Det`endants. )
)

 

Plaintiff does hereby submit this Trial Brief in addressing certain evidentiary

issues that may arise at the trial of this matter.
PUNITIVE DAMAGES

The Defendants have asserted that the issue of punitive damages should not be
submitted to the jury. Taking the defendants argument at its strongest point based on
Kolsz‘ad v. American Dem‘al Assn., 527 U.S. 526 (1999), and Smith v. Wade, 461 U.S. 30
(1983), and Iocabucci v. Boulder, 193 F.3d 14 (lst Cir, 1999), it does not block an award
of punitive damages

Defendants argue that there can be no punitive damages unless officers are aware
that they may be acting in a way that breaks the law, an "established" law. The
defendants argue at page 9 that Morehouse and Shat`t`er's Memorandurn in Support of

their Second motion in Limine (Documents 155.1 in this case) that "Plaintift` has not set

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forth any evidence that these Defendants acted in the face of a perceived risk that their
actions would violate federal law."

First, it is way premature for the defendants to be arguing that plaintiff has not
offered evidence when the trial has not even begun. Defendants are advancing arguments
that would require this Court to step beyond its role as a gatekeeper on disputed questions
of fact, particularly in light of the heavy presence in the Ninth Circuit of a court policy
that disputed questions of fact as to excess force are particularly for the jury as fact
tinders.

But more importantly perhaps, defendants overlook the obvious risk to the
officers running afoul of Idaho Code, 18-706 which provides:

18-706. UNNECESSARY ASSAULTS BY OFFICERS. Every public officer

who, under color of authority, without lawful necessity, assaults or beats any

person, is punishable by fine not exceeding $5,000 and imprisonment in the
county jail not exceeding one (1) year.

The history of this case is as follows: As the officers in this case arrived on the
scene in response to a Code 3 call that the originating officer now admits was error, they
had to be aware of the existence of 18-706. They are charged with being aware of the
law they enforce. Being aware of this law, they would of necessity have perceived a risk,
i.e. the risk of using force in view of the question of "who" and "when" as they relate to
the existence of "lawful necessity." Officers know that their conduct will be judged after
the fact when it is too late to change the factors that led to the objectionable conduct. So,
when they rush to a scene to help an officer who has initiated a desperate call for help,
they do so with full awareness that after the fact they will be judged by someone's
decision as to whether their use of force was a "lawful necessity." They must perceive
the risk they are taking that whoever makes the decision as to lawful necessity will see it
the same way the officer saw it in the heat of the moment.

Of course Plaintiff contends that there was no lawful necessity of the heavy
handed beating to which he was subj ected. Officer Murakami was on the passenger side
of the vehicle demanding production of a driver's license and registration Harmony
Black was organizing the papers and just as she was ready to show them, Murakami
moved away Hom her passenger side of the vehicle, walking to the driver's side where

she became embroiled there in a discussion with the Plaintiff. At that point there was no

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lawful necessity of upgrading the situation because Plaintiff was doing nothing to
aggravate the situation and she had to see that Harmony was getting her papers she asked
for.

This was after all a traffic stop for a "less than five second" blinker lane change;
none of the officers on this call would testify that such a violation calls for a punishment
that cripples the driver. Yet, that is the punishment that was meted out for his delaying
getting out of the car. Common sense dictates the conclusion that they had to perceive
the risk of rendering such treatment to a recalcitrant motorist in response to such a minor
infraction.

Punitive damages are logically connected to cases involving charges of excess
force exerted by law enforcement officers. One of the prime reasons for allowing
punitive damages in any case is to deter repeat of the conduct. An award of punitive
damages can go a long way toward warning the culprit of what will happen if he repeats
suchconduct

In O'Neill v. Krzeminskz`, Fz’orz`llo and Connors, 839F2.2d 9 (2nd Cir. 1988), the
Second Circuit Court of Appeals affirmed an award of punitive damages in a case in
which plaintiff was beaten by Krzeminski and Fiorillo. Connors watched without raising
a finger to stop the unlawful act. In Connors presence, the other two officers struck
Plaintiff three times "in rapid succession" on the face and head and dragged him across
the floor holding on to his neck. At least one of the blows was with a blackjack. The
court allowed the case of willful excess force against Connors go to the jury which
returned a verdict of compensatory and punitive damages.

On appeal Connors argued that it was error even to subject him to the jury since
he did not attack or even hit the plaintiff But the Circuit Court said "A law enforcement
officer has an affirmative duty to intercede on the behalf of a citizen whose constitutional
rights are being violated in his presence by other officers" citing Byrd v. Clark, 713 F.2d
11002 (l lth Cir. 1986), Webb v. Hiykel, 713 F.2d 405 )8th Cir. 1983), Gagnon v. Ball,
696 F.2d 17 (2d Cir. 1982), Bruner v. Dunaway, 684 F.2d 422 (6th Cir. 1982) cert. den.
459 U.S. 1171, Byrd v. Brishke, 466 f.2d 6 (7th Cir. 1972) and Skorupskz' v. County of
Sujj”olk, 652 F. Supp. 690 (E.D. N.Y. 1987) all excess force cases.

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The Court held that even though the first blows to the plaintiff were struck too
fast for Connors to intervene, he could have done so when the others were dragging the
plaintiff across the floor. The Court affirmed the punitive damage awards, holding that a

"punitive award 'may be an integral part of the remedy in a civil rights action

Zarcorze v. Perry, 572 .2d at 52 and Smith v. Wade, 461 U.S. 30. The Court ruled that

citing

only if the amount of punitive damages shocked the conscience would it be reversed. lt
pointed out that here the plaintiff was still handcuffed when struck and dragged.

In the instant case, Rice was repeatedly kneed in the hip area where the hip was
virtually destroyed, and he was pummeled around the upper body and head---all over a
less than obvious traffic offense and a decision to call in a Code 3 which was an error by
a stressed officer.

The Court pointed out that punitive damages had been approved in cases in which
there was no physical harm done to the accused by beating, kicking, or even physical
abuse.: citing Hall v. Ochs, 817 f.2d 920 and Zarcone v. Perry, supra.

The Court also affirmed the award of compensatory damages for pain and
suffering though the plaintiff suffered no permanent physical disability, and for lost
wages even though there was relatively little proof other than lessening of what he could
earn in the future.

Applying the reasoning of the Court in Krzemski to the instant case: here Rice
was tripped and while on the ground pummeled and kneed in front of Murakami and
other officers involved in the case. There is ample evidence of the facts that even the
non-kneeing officers did not intervene and stop the beating which was clearly
unnecessary and a violation of Rice's rights.

As to lost wages, Rice will be able to demonstrate that he was just getting to the
point of earning much bigger income from his many ideas of development of self help
legal services as well as ideas for a huge community development program for restoration
of the River Street historic area for black families in Boise, a project he had discussed
with the mayor of Boise. Such evidence was allowed in sz`th and Zarcom.

A multitude of Ninth Circuit cases have held that when a defendant has been

found liable for compensatory damages the jury may also consider punitive damages In

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fact, the Comments from the Committee on Model Jury Instructions, included with the
publication of the model instructions said as follows:

"As to Sec. 1983 claims, "[I]t is well-established that a ' jury may award punitive
damages...either when a defendant's conduct was driven by evil motive or intent,
or when it involves a reckless or callous indifference to the constitutional rights of
others.'" Morgan v. Woessner, 997 F.2d 1244, 1255 (9th Cir. 1993) In Dang v.
Cross, the Ninth Circuit held this "statement of the law of punitive damages is
incomplete, however. The standard for punitive damages under Sec. 1983 mirrors
the standard for punitive damages under common law tort cases....[l\/I]alicious,
wanton, or oppressive acts or omissions are within the boundaries of traditional
tort standards for assessing punitive damages and foster 'deterrence and
punishment over and above provided by compensatory awards.'...Such acts are
therefore all proper predicates for punitive damages under Sec. 1983." 442 F.3d
800, 807 (9th Cir. 2005) (citing Smith v. Waa'e, 416 U.S. 30, 40 (1983)).

The Dang court held it was reversible error to decline to instruct that "oppressive acts"

were an alternative basis for punitive damages in a Sec. 1983 case.

Similarly, punitive damages claims arising under state law are subject to state law
standards for recovery which should be reflected in a modified jury instruction See, e.g.
Coughlz`n v. TailhookAss'n, 112 F.3d 1052, 1056 (9th Cir. 1997).

Whether punitive damages nee to be proved by a preponderance of the evidence
or clear and convincing evidence also depends on the standards applicable to the
underlying claim for relief. F or example, several states in the Ninth Circuit require proof
by clear and convincing evidence before punitive damages are awarded on a state law
claim. On the other hand, a preponderance of the evidence standard has been upheld for
punitive damages in certain federal claims. See e.g, In re Exxon Valdez, 270 F.3d 1215,
1232 (9th Cir. 2001) (holding that a preponderance standard applied to punitive damages
claim in a mritirne case, citing Pac. Mut. Lz'fe Ins, Co. v. Haslz`p, 499 U.S. l, 23 n. 11
(1991)).

If punitive damages are available and evidence of the defendant's financial
condition is offered in support of such damages, a limiting instruction may be
appropriate See Instruction 1.11 (Evidence for Limited Purpose) and numbered
paragraph (3) in Instruction 1.10 (What is not Evidence).

Regarding the degree of reprehensibility and punitive damages generally, see
Philip Morrz's USA v. Wz`llz'ams, 549U.S. 346, 353~54 (2007), BMW of N. Am., ]nc. v.
Gore,517 U.S. 559 (1996), Pac. Mut. Life Ins. Co. v. Haslip, 499 U.S. 1 (1991); see also

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Morgan v. Woessner, 997 F.Zd ]244, 1256 (9th Cir. ]993) ("Haslip said that instructions
should be fashioned to describe the proper purposes of punitive damages so that the jury
understands that punitive damages are not to compensate plaintiff, but to punish the
defendant and to deter the defendant and others from such conduct in the future.") See
also White v. Ford Motor Co., 500 F.3d 963 (9th Cir. 2007) (holding that trial court's
failure to give a "harm to nonparties" instruction violated due process and was reversible
error after Willz`ams. Bracketed language in the fourth paragraph oof the instruction
addresses this requirement when evidence concerning harm to nonparties is admitted on
the issue of reprehesibility.

This committee comment follows the Model Instruction for punitive damages 5.2
in the Manual of Model Instruction:

5.5 PUNITIVE DAMAGES

If you find for the plaintiff, you may, but are not required to, award punitive damages
The purpose of punitive damages are to punish a defendant and to deter similar acts in the
future. Punitive damages may not be awarded to compensate a plaintiff

The plaintiff has the burden of proving by a [preponderance of the evidence] [clear and
convincing evidence] that punitive damages should be awarded and , if so, the amount of
any such damages.

You may award punitive damages only if you find that the defendant's conduct that
harmed the plaintiff was malicious, oppressive or in reckless disregard of the plaintiffs
rights. Conduct is malicious if it is accompanied by ill will, or spite, or if it is for the
purpose of injuring the plaintiff Conduct is in reckless disregard of the plaintiffs rights
if, under the circumstances, it reflects complete indifference to the plaintiffs safety or
rights, or if the defendant acts in the face of the perceived risk that its actions will violate
the plaintiffs rights under federal law. An act or omission is oppressive if the defendant
injures or damages or otherwise violates the rights of the plaintiff with unnecessary
harshness or severity, such as misusing or abusing authority or power or by taking
advantage of some weakness or disability or misfortune of the plaintiff

If you find that punitive damages are appropriate, you must use reason in setting the
amount. Punitive damages, if any, should be in an amount sufficient to fulfill their
purposes but should no reflect bias, prejudice or sympathy toward any party. In
considering the amount of any punitive damages, consider the degree of reprehensibility
of the defendant's conduct, [including whether the conduct that harmed the plaintiff was
particularly reprehensible because it also caused harm or posed a substantial risk of harm
to people who are not parties to this case. You may not, however, set the amount of any
punitive damages in order to punish the defendant for harm to anyon other than the
plaintiff in this case].

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[In addition, you may consider the relationship of any award of punitive damages to any
actual harm inflicted on the plaintiff]

DECLARATION OF ALVIN FLANE WALKER AND DR.
MARK COOK AS EXPERT WITNESSES

Defendant completely skew the issue of expert witnesses and testimony in
challenging Alvin Flane Walker and Dr,. Mark Cook, MD, both of whom more than
qualify as experts under the F ederal Rules of Evidence.

Rule 702 specifies that a witness may quality as an expert if his or her specialized
knowledge, skill, experience, training and education will "help the trier of fact to
understand the evidence or to determine a fact in issue", and if "the testimony is based
upon sufficient facts or data" and if "the testimony is the product of reliable principles
and methods" and if the expert has "reliably applied the principles and methods to the
facts of the case."

As to Alvin Flane Walker first, it is hardly fathomable that the defendants
challenge the man's position as an expert in the martial arts and acupuncture, and it is in
those fields that he is expert and is from the standpoint of those fields and Rice's former
position in them that Walker testifies

Alvin Flane Walker more than qualifies to testify as an expert to provide an
opinion as to the functioning of the human anatomy, damage to the human anatomy and
causes of damage to the human anatomy because of his vast experience and expertise and
training in Oriental Medicine and acupuncture.

He trained for ten years as an apprentice under Mastuetsu, Oriental Medical
Doctor in Los Angeles, fiom 1969 to 1979; he also trained under Won Hop Loong
Chuan Gung Fu. He began training in martial arts under his father until 1969 when he
accepted as apprentice by Mastuetsu.

He is licensed to practice acupuncture in four states: Colorado, Texas, Florida,
and Alaska as well as in Thailand, Austrailia, Canada, and Beijing, China. He is Grand
Master in Wop Hop Loong Chuan, Chinese Gung Fu and he teaches at 36 schools within
the United States and at 5 schools in Europe, the primary school being in ltaly.

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He holds 9th degree balck belt in Korean Karate and is not anxious to reach 10th degree
level because that is reserved for 9th degrees who die and is award the 10th degree
posthumous. He hods Sagawa Karafii Karate 5th degree black bel, Japanese and Chinese
Kung Fu and is a Master instructor in Wu Tai Chi Chuen and Grand Master in Tsong
Quo Cheun, and Grand Master in ShotoKan Karate.

A licensed acupuncturist with all the training and teaching skills possessed by
Flane Walker more than qualifies him to testify as to features of, functions of, and casual
relationships to, the human body. The rationale behind that statement is that
acupuncturists must know the anatomy. The Gale Encyclopedia of Medicine, edited by
Lannie J. Fundukian and published by Gale Engage Learning, Detroit, New York, San
Francisco, New Haven, Waterville, Maine and London has full coverage of acupuncture,
its history and its acceptance in the world of medicine and science.

The coverage of acupuncture (at pages 44 et se, Vol. 1) shows clearly that it is
critical to know the human anatomy intricately in great detail in order to perform
acupuncture. The article points out that acupuncture is "one of the main forms of
treatment in Oriental Medicine.

Walker is co-author along with Richard Bauer of two books on acupuncture: The
Ancz'em‘ Arl‘ of Life and Death, published by Paladian Press, in 2000, and the Book of Dim
Mak, a Paladian Press best seller. The book describes how to use acupuncture points
with location and physiology to cause damage reactions with time delay over 1 to 30
diurnal cycles, and how to stop damage with herbs and acupuncture.

There are thousands of documented medical doctors in the United States who now
use acupuncture and certify its usefulness and its scientific basis. Obviously the AMA
does not accept or recognize acupuncture, but it is an accepted American practice now.

Dr. Mark Cook is a medical doctor duly licensed to practice medicine in the the
State of California where he has his practice. In this case he has reviewed x-rays
involving Plaintiffs hip both prior to the incident here and after, has reviewed the VA
medical records pertaining to Plaintiff, has personally examined the Plaintiff and is

qualified to render opinions as to his injuries, causation and prognosis.

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Respectfuny submitted this Z? day of Match 2018.

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Attomey for Plaintiff

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CERTIFICATE OF SERVICE

The undersigned does herelz_§ertify that a true and correct copy of the
foregoing document was served on the day of March, 2018 to following by the
means indicated:

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